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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF DELAWARE

 

PAMELA KLEIN, )
Plaintiff,

V. 5 Civ. No. 18-1551-CFC
SPRINT CORPORATION, et al., 5
Defendants,
HOWARD MUEHLGAY, )
Plaintiff,

v. Civ. No. 18-1622-CFC
SPRINT CORPORATION, et al.,
Defendants.

ORDER

At Wilmington this ts, of December, 2018,

IT IS ORDERED that an in-court conference shall be held on Thursday, January 31,
2019, at 4:00 p.m. in courtroom 4B on the 4th Floor, J. Caleb Boggs Federal Building, 844 King
Street, Wilmington, Delaware. The parties shall be prepared to discuss with the Court at the
conference: (1) the section of Federal Rule of Civil Procedure (FRCP) 41 pursuant to which the
parties filed their stipulation; (2) whether the case was dismissed automatically upon the filing of
the stipulation, see First Nat. Bank of Toms River, N.J. v. Marine City, Inc., 411 F.2d 674 (3d

Cir. 1969); (3) legal authority that supports the assertion in paragraph 2 of the stipulation; and (4)
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whether, if the Court were to sign the stipulation, the Court would first have to comply with

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FRCP 23().

 
